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 1                                                                                 FILED IN THE
                                                                               U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF WASHINGTON
 2
 3                                                                        Feb 22, 2021
                                                                              SEAN F. MCAVOY, CLERK

 4                             UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,
 7                                                      Nos. 1:21-CR-2009-SAB-1
                                Plaintiff,                   1:21-CR-2009-SAB-2
 8
            -vs-                                        ORDER SETTING PRETRIAL
 9                                                      DEADLINES AND TRIAL DATE
     NOE RUBIO-FARIAS and ROMAN
10   BERUMEN PEREZ,
11
                                Defendants.
12
13         PLEASE TAKE NOTICE, as indicated below, the jury trial and pretrial
14 conference in the above captioned matter have been scheduled before Chief Judge Stanley
15 A. Bastian. Counsel for the defense shall notify the Defendants and ensure their
16 attendance.
17       1. All pretrial motions, including motions in limine and Daubert motions, shall be
18 filed and served on or before March 17, 2021, and noted for hearing at the pretrial
19 conference. Any response to a pretrial motion shall be filed and served in accordance with
20 Local Rule 7.1.
21       2. The Pretrial Conference is scheduled for April 7, 2021 at 10:00 a.m. in
22   Yakima, Washington. Counsel shall advise the Court regarding any dispositive change in
23   the status of this case at least five (5) days prior to the pretrial conference.
24         3. All pretrial conferences are scheduled to last not more than thirty (30) minutes,
25   which each side allotted fifteen (15) minutes to present their own motions and respond to
26   motions filed by opposing counsel. If any party anticipates requiring longer than fifteen
27   minutes, that party must notify the Courtroom Deputy at least seven (7) days prior to the
28

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 1   hearing. Any party who fails to provide this notice will be limited to fifteen (15)
 2   minutes.
 3         4. If a party files any motion that requires an evidentiary hearing and/or requires the
 4   Court to act as a finder of fact, that party must notify the Courtroom Deputy at least
 5   fourteen (14) days prior to the hearing. The parties will coordinate with the Courtroom
 6   Deputy to schedule an evidentiary hearing that provides enough time for the parties to
 7   present evidence, including witness testimony and exhibits. If the parties anticipate
 8   offering witness testimony, the parties shall file with the Court a witness list, together with
 9   a brief summary of the proposed testimony, at least seven (7) days prior to the hearing. If
10 the parties anticipate offering or referring to exhibits during the hearing, the parties shall
11 file with the Court a binder of the proposed exhibits, pre-marked for identification, at least
12 seven (7) days prior to the hearing. The Government’s exhibits shall be numbered 1 to
13 100; Defendant’s exhibits shall be numbered 101 to 200. The parties are encouraged to file
14 their exhibits jointly, so that the Court may quickly refer to all exhibits in one place.
15        5. Any motion to continue the pre-trial conference or trial shall be filed at the
16 earliest practicable opportunity, but no later than seven (7) days prior to said proceeding.
17 Movant shall provide (1) specific and detailed reasons for the continuance to permit the
18 Court to make the necessary findings; (2) if applicable, Defendant’s signed Speedy Trial
19 waiver; (3) the position of all co-Defendants and opposing counsel; and (4) the proposed
20 new date. Additionally, any motions filed after the pretrial motion deadline will be
21 considered at the pretrial conference.
22         6. Continuances are not granted absent good cause.
23         7. A defendant on pretrial release should expect to be placed into custody
24 immediately after conviction or change of plea if the provisions of 18 U.S.C. § 3143(a)(2)
25 apply.
26         8. Trial briefs, proposed voir dire, jury instructions, verdict forms, exhibit lists,
27 expert witness lists, and summaries of expert testimony shall be filed and served by all
28 parties on or before seven (7) calendar days prior to trial. This does not modify the

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 1   parties’ discovery obligations under Fed. R. Crim. P. 16. Absent an agreement between the
 2   parties or an Order from the Court, the parties’ Fed. R. Crim. P. 16 discovery deadlines
 3   shall be governed by Local Criminal Rule 16.
 4          9. Under federal law, including Rule 5(f) of the Federal Rules of Criminal
 5   Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions
 6 interpreting Brady, the Government has a continuing obligation to produce all information
 7 or evidence known to the Government that is relevant to the guilt or punishment of a
 8 Defendant, including, but not limited to, exculpatory evidence.
 9       Accordingly, the Court orders the Government to produce to the Defendant in a
10 timely manner all information or evidence known to the Government that is either:
11 (1) relevant to the Defendant’s guilt or punishment; or (2) favorable to the Defendant on
   the issue of guilt or punishment.
12
          This Order is entered under Rule 5(f) and does not relieve any party in this matter
13
   of any other discovery obligation. The consequences for violating either this Order or the
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   Government’s obligations under Brady include, but are not limited to, the following:
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   contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
16
   of evidence, and dismissal of charges.
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          10. The Court utilizes JERS (Jury Evidence Recording System) to allow evidence
18
   admitted for a trial to be viewed electronically via touchscreen monitor in the jury
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   deliberation room upon the conclusion of the trial. Please note that the jury will receive a
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   verbatim copy of the JERS exhibit list. Review and follow the instructions on the public
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   website within the Courtroom Support information for attorneys.
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1          11. The jury trial in this matter is scheduled for April 19, 2021 at the United
2    States Courthouse in Yakima, Washington. Counsel shall appear in court for a Final
3    Pretrial Conference at 8:30 a.m. on the first day of trial to address any pending
4    pretrial matters. Jury selection shall begin at 9:00 a.m.
5          The District Court Executive is hereby directed to enter this Order and furnish
6    copies to counsel and the United States Probation Office.
7          DATED this 22nd day of February 2021.
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14                                                Stanley A. Bastian
15                                         Chief United States District Judge
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